                                                                             Case 3:23-cv-06261-JSC Document 15-2 Filed 12/21/23 Page 1 of 1


Channel URL                                                Name                              Infringement URL                              Timestamp                                              Video Source                                                           Source Timecode                  Videographer
https://www.youtube.com/@4EverGreenYT                      4 Ever Green                      https://www.youtube.com/watch?v=iAGdltBg_nY    0:08 - 0:13 ; 4:16 - 4:22 ; 5:00 - 5:03               https://www.youtube.com/watch?v=HywQ__lE23M                            2:05 - 2:07                      Pecos Hank (Hank Schyma)
https://www.youtube.com/@BUENISIMOCANAL                    BUENISIMO                         https://www.youtube.com/watch?v=Irbpv-kBxSQ   56:44-57:19                                            https://www.youtube.com/watch?v=oagszCmJLpU                            3:12 - 3:50                      Mike Olbinski
https://www.youtube.com/@BUENISIMOCANAL                    BUENISIMO                         https://www.youtube.com/watch?v=nU6CtBI1W5s   1:02-1:10                                              https://www.youtube.com/watch?v=oWIx3Erswh8                            0:42 - 0:47 ; 2:30 - 2:34        Pecos Hank (Hank Schyma)
https://www.youtube.com/@BUENISIMOCANAL                    BUENISIMO                         https://www.youtube.com/watch?v=Z3HkOxN7DFM   :09-:36                                                https://www.youtube.com/watch?v=lxdFh8nYMgM                            0:00 - 0:26                      Reed Timmer
https://www.youtube.com/@BUENISIMOCANAL                    BUENISIMO                         https://www.youtube.com/watch?v=nPSq0ivN-qg   5:34-5:40                                              -                                                                      -                                Reed Timmer
https://www.youtube.com/@BUENISIMOCANAL                    BUENISIMO                         https://www.youtube.com/watch?v=nPSq0ivN-qg   5:29-5:33, 5:47-5:50                                   https://www.youtube.com/watch?v=y73ZVT56Sz4                            0:47 - 0:50                      Pecos Hank (Hank Schyma)
https://www.youtube.com/@GlobalLeaks                       DailyTop10s                       https://www.youtube.com/watch?v=QgFpvGJ4dcA   6:26-7:21                                              https://www.youtube.com/watch?v=3Fe7UTLQx2M                            0:00 - 0:56                      Max Olson
https://www.youtube.com/@dblnew                            https://www.youtube.com/@dblnew   https://www.youtube.com/watch?v=iBgmsc0tO80   2:07-2:16                                              https://www.youtube.com/watch?v=FjA9IgdbGT0                            :09-:18                          Brian Emfinger
https://www.youtube.com/@dynamicdisaster                   Dynamic Disaster                  https://www.youtube.com/watch?v=SLjhGVsD2YY   Thumbnail                                              https://www.youtube.com/watch?v=tVZ2AZu6-Ho                            1.04 - 1.04                      Brandon Clement
https://www.youtube.com/@futureunity5129/videos            Future Unity                      https://www.youtube.com/watch?v=hdNQJJK8Uhc   22:44 - 22:48                                          https://www.youtube.com/watch?v=F0NGEwDYaSg                            1:26 - 1:32                      Brandon Clement
https://www.youtube.com/@futureunity5129/videos            Future Unity                      https://www.youtube.com/watch?v=PadDmhFxa0g   1:13-1:20                                              https://www.youtube.com/watch?v=F0NGEwDYaSg                            1:51-1:53                        Brandon Clement
https://www.youtube.com/@futureunity5129/videos            Future Unity                      https://www.youtube.com/watch?v=Z8Lq1NIaVDE   4:52 - 4:56, 4:45 - 5:00                               https://www.youtube.com/watch?v=al8yTiCVfro                            :50 - :55, 2:16 - 2:26            Max Olson
https://www.youtube.com/@futureunity5129/videos            Future Unity                      https://www.youtube.com/watch?v=_GxREdW74Uw   13:27 - 13:30, 12:27 - 12:29;                          https://www.youtube.com/watch?v=tLqXMqr5MWY                            1:44-1:47                         Brandon Clement
https://www.youtube.com/@futureunity5129/videos            Future Unity                      https://www.youtube.com/watch?v=lyEzjC8yNnM   9:37 - 9:39                                            https://www.youtube.com/watch?v=pF6IX3KDOuo                            :30 - :33                        Adrien Mauduit
https://www.youtube.com/watch?v=pM72ktBaKdo                Lav Luka                          https://www.youtube.com/watch?v=pM72ktBaKdo   2:26-2:43                                              https://www.youtube.com/watch?v=_XSUXqy98xw                            0:00 - 1:45                      Max Olson
https://www.youtube.com/@mind_warehouse                    Mind Warehouse                    https://www.youtube.com/watch?v=Ro19wdg7d5I   57:48-58:06                                            https://www.youtube.com/watch?v=VgV0cBLMgjU                            0:00 - 0:18                      Aaron Jayjack
https://www.youtube.com/@mind_warehouse                    Mind Warehouse                    https://www.youtube.com/watch?v=LDBkx1me1Y8   5:23-5:26, 5:54-6:00 Tyler Sloan                       https://www.youtube.com/watch?v=ZBYLBXylNMI                            :22 - :30                        Tyler Sloan
https://www.youtube.com/@mind_warehouse                    Mind Warehouse                    https://www.youtube.com/watch?v=VtFiZh6Qiww   8:00-8:13                                              https://www.youtube.com/watch?v=wvsRjqwtsZs&ab_channel=TylerSchlitt    :01 - :14                         Tyler Schlitt
https://www.youtube.com/@mind_warehouse                    Mind Warehouse                    https://www.youtube.com/watch?v=6t3ccaKKBSY   2:36-2:53                                              https://twitter.com/aaronjayjack/status/1696871550899937733?s=46&t=8aTSnqnS6oCUobjr4SN3JQ&fbclid=IwAR2OxRjo2QFz1QMqLxdW52K30aaTShHeEegzwo
                                                                                                                                                                                                                                                                         entire video                     Aaron Jayjack
https://www.youtube.com/@canaldoobservador                 O CANAL DO OBSERVADOR             https://www.youtube.com/watch?v=pAjqkFledIU   1:42-1:52                                              https://www.youtube.com/watch?v=FGxw1v7q5kE                            0:00 - 0:10                      Brandon Clement
https://www.youtube.com/@canaldoobservador                 O CANAL DO OBSERVADOR             https://www.youtube.com/watch?v=3ekBAxKUi1c   3:14-4:40 Houston flooding beta                        https://www.youtube.com/watch?v=YY2AZVo6aEo                            0:04 - 0:05 ; 1:24 -1:25          Brandon Clement
https://www.youtube.com/@canaldoobservador                 O CANAL DO OBSERVADOR             https://www.youtube.com/watch?v=zXmw2hhNsUw   -                                                      -                                                                      -
https://www.youtube.com/@canaldoobservador                 O CANAL DO OBSERVADOR             https://www.youtube.com/watch?v=48Gpw29FKVA   1:31-3:26 Haiti 12/10                                  https://www.youtube.com/watch?v=Pqo73abwcGI                            1:03 - 3:51                       Max Olson
https://www.youtube.com/@canaldoobservador                 O CANAL DO OBSERVADOR             https://www.youtube.com/watch?v=V1DiVZbHmW0   :18-2:23                                               https://www.youtube.com/watch?v=tA3Vo0EYNFI                            0:00 - 2:32                      Aaron Rigsby
https://www.youtube.com/@canaldoobservador                 O CANAL DO OBSERVADOR             https://www.youtube.com/watch?v=48Gpw29FKVA   :35-:52                                                https://www.youtube.com/watch?v=FiaHnYrbJrk                            0:00- 0:20                       Brandon Clement
https://www.youtube.com/@canaldoobservador                 O CANAL DO OBSERVADOR             https://www.youtube.com/watch?v=vcH6Rkxpm8g   1:58-4:52                                              https://www.youtube.com/watch?v=lHDoHs-N5g8                            entire video                     Jordan Hall
https://www.youtube.com/@canaldoobservador                 O CANAL DO OBSERVADOR             https://www.youtube.com/watch?v=t4RuGtpbifQ   2:10-2:39                                              https://www.youtube.com/watch?v=kd6Lae_zNXc                            :01 - :28                        Brian Emfinger
https://www.youtube.com/channel/UCfpntDhySfxLIlK6laEWc8w   O CANAL DO OBSERVADOR             https://www.youtube.com/watch?v=EjrbFYWYFg8   0:45 – 2:52                                            https://www.youtube.com/watch?v=9vQ6S81hgj4                            entire video                     Aaron Rigsby
https://www.youtube.com/@otvodisha                         OTV                               https://www.youtube.com/watch?v=8kJmGL2LvLg   :20-:29 Reed Andover Ground                            https://web.facebook.com/watch/?v=557784499112578                      -                                Reed Timmer
https://www.youtube.com/@otvodisha                         OTV                               https://www.youtube.com/watch?v=a-7h1-Xt5Zk   :42-1:16                                               https://www.youtube.com/watch?v=vEbUhcX4ATs                            :03-:33                          Brandon Clement
https://www.youtube.com/@otvodisha                         OTV                               https://www.youtube.com/watch?v=a-7h1-Xt5Zk   :29-:41 Mayfield downtown shot                         https://twitter.com/bclemms/status/1469662822795816968                 :08-:20                          Brandon Clement
https://www.youtube.com/@otvodisha                         OTV                               https://www.youtube.com/watch?v=a-7h1-Xt5Zk   :14-:19                                                https://www.youtube.com/watch?v=FiaHnYrbJrk                            :22-:29                          Brandon Clement
https://www.youtube.com/@TheBeesleys99                     The Beesleys                      https://www.youtube.com/watch?v=G4WWUbVMxrU   7:18 - 7:23                                            https://www.youtube.com/watch?v=-Kou0HBpX4A                            2:39 - 2:46                      Mike Theiss
https://www.youtube.com/@ultimatediscovery                 The Ultimate Discovery            https://www.youtube.com/watch?v=-LmDEoggeZo   11:57 -12.00 ( still) , 13:06 - 13:09, 13:17 - 13:19   https://www.youtube.com/watch?v=ii46SWfIrZA                            (2:38) 2:23 -3:26 ,1:28 - 1:31 Aaron Jayjack
https://www.youtube.com/@ultimatediscovery                 The Ultimate Discovery            https://www.youtube.com/watch?v=-LmDEoggeZo   9:22 - 9:24 , 9:30 - 9:33, 9:39 - 9:42                 https://www.youtube.com/watch?v=0GnAuUfOPus                            10:03 -10:05 9:35 - 9:39, 9:15 -9:19
                                                                                                                                                                                                                                                                                                          Daniel Shaw
https://www.youtube.com/@topfives                          Top Fives                         https://www.youtube.com/watch?v=qQmpKgFurY0   :15-:18, 11:32-11:36                                   https://www.facebook.com/watch/?ref=search&v=481700142664492&external_log_id=259717b5-8b46-47bb-9934-eecaf659add3&q=Hurricane%20Dorian%20w
                                                                                                                                                                                                                                                                         :11 - :15                        Brandon Clement
https://www.youtube.com/@topfives                          Top Fives                         https://www.youtube.com/watch?v=QzbJK3SNjbk   3:10-3:17, 3:32-3:37                                   https://www.youtube.com/watch?v=UYlOzNmCD6Y                            5:00 - 5:07                      Jonathan Carruthers
https://www.youtube.com/@wewinescanal                      WEWIN ES - Desastres Naturales    https://www.youtube.com/watch?v=yPevE4sv8YY   14:26-14:45 Elgin red truck                            https://www.youtube.com/watch?v=kd6Lae_zNXc                            :03-:22                          Brian Emfinger
https://www.youtube.com/@wewinescanal                      WEWIN ES - Desastres Naturales    https://www.youtube.com/watch?v=N-c__MwT0aw   7:04-7:34 Reed Wray                                    https://www.youtube.com/watch?v=ic7P9fz3yYQ                            2:13 - 3:14                       Reed Timmer
https://www.youtube.com/@wewinescanal                      WEWIN ES - Desastres Naturales    https://www.youtube.com/watch?v=ohxQ-i-CjVU   -                                                      -                                                                      -
https://www.youtube.com/@wewinescanal                      WeWin ES -Desastres Naturales     https://www.youtube.com/watch?v=Sy_I3BBIlYo   14:25-14:44                                            https://www.youtube.com/watch?v=kd6Lae_zNXc                            0:03 - 0:16                       Brian Emfinger
https://www.youtube.com/@wewinescanal                      WEWIN ES -Desastres Naturales     https://www.youtube.com/watch?v=Z8i2Fmkv1gg   0:00 - 0:05, 4:55 - 5:09                               https://www.youtube.com/watch?v=y0W5CFY5Aq4                            0:04 - 0:11                       Blake Brown
https://www.youtube.com/@wewinbrasil                       WEWIN PT                          https://www.youtube.com/watch?v=apGMnlAA-Ls   17:38-18:00                                            https://www.youtube.com/watch?v=6NomCDOSARs                                                             Daniel Robinson
https://www.youtube.com/@wewinbrasil                       WEWIN PT                          https://www.youtube.com/watch?v=N1mrqn8QGlQ   3:13 - 3:32                                            https://www.youtube.com/watch?v=kd6Lae_zNXc                            0:03 - 0:17                      Brian Emfinger
https://www.youtube.com/@wewinbrasil                       WEWIN PT                          https://www.youtube.com/watch?v=uBTWiAS5MJg   1:07 - 1:16                                            https://www.youtube.com/watch?v=TA_zrvBctH8                            0:09 - 0:16                      Carl Hobi
